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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                    v.                                        DECISION AND ORDER
                                                                10-CR-188A

LAURA SIRIANNI-NAVARRO,
                                  Defendant.



                                    BACKGROUND

      The defendant, Laura Sirianni Novarro, is charged in a multi-defendant, multi-

count indictment with: (1) engaging in a conspiracy to possess with the intent to

distribute 5 kilograms or more of cocaine and an unspecified quantity of marijuana

(count 4); (2) possessing with an intent to distribute 500 grams or more of cocaine

(count 6) and (3) knowingly using and maintaining a residence for the purpose of

manufacturing and distributing cocaine and marijuana (count 7).

      The government moved for pretrial detention of the defendant and the defendant

was detained pending a hearing. After her arrest but before the detention hearing, the

defendant proposed certain conditions of release to the government, including that she

be released to reside with her mother at 1312 Seneca Street, Buffalo, New York, where

she had been staying with her three-year-old child. The defendant had moved in with

her mother on or about December 22, 2009, upon eviction from her prior residence at




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16 Blum Avenue where she had been living with her husband, co-defendant Javier

Navarro, until his arrest in December 2009 for drug trafficking.1

       The United States Probation Office conducted a search of 1312 Seneca Street

and discovered in the defendant’s bedroom: (1) a set of brass knuckles on the dresser;

(2) two large sticks with forged metal blades; and (3) a .357 Magnum revolver in a

plastic bin in the closet. Additionally, a black Sepsco .38 special revolver, one

Mossberg 500A black pistol grip 12 gauge shotgun and ammunition were also found in

a Christmas tree box in the attic. Based upon the discovery of those weapons, the

defendant appeared before Magistrate Judge H. Kenneth Schroeder, Jr., on February

25, 2010, and waived a detention hearing subject to her right to move for

reconsideration of a detention order based upon a change in circumstances. The

defendant was ordered detained.

       The defendant later moved for reconsideration of Magistrate Judge Schroeder’s

detention order, but her motion was denied. She then appealed the detention order to

this Court, pursuant to 18 U.S.C. § 3145. The government opposed release and oral

argument was held on December 13, 2010.

       For the reasons stated herein, the appeal is denied and the defendant is ordered

detained pending trial.




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         Javier Navarro is charged as one of the lead defendants in this large-scale drug
conspiracy and is also alleged to have engaged in a continuing criminal enterprise.

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                                        DISCUSSION

       A magistrate judge’s detention order is reviewed de novo, pursuant to 18 U.S.C.

§ 3145(b). See United States v. Leon, 766 F.2d 77, 80 (2d Cir. 1985). An order of

detention must be based upon a finding that “no condition or combination of conditions

will reasonably assure . . . the safety . . . of the community. . . ” if the defendant is

released. See 18 U.S.C. § 3142(e). A defendant’s dangerousness must be

established by clear and convincing evidence. See 18 U.S.C. § 3142(f). The

government may proceed by proffer to establish the defendant’s dangerousness or risk

of flight. United States v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995).

       Where a defendant is charged with a narcotics offense for which the potential

term of imprisonment is ten years or more, there is a rebuttable presumption that no

condition or combination of conditions will reasonable assure the person’s appearance

or the safety of the community. See 18 U.S.C. § 3142(e)(3)(A); see also United States

v. Magassouba, 544 F.3d 387, 393 (2d Cir. 2008) (stating that an indictment that

charges a crime carrying a sentencing range of 10 years to life gives rise to the

rebuttable presumption of detention under the Bail Reform Act). All three counts

against the defendant are narcotics offenses for which the potential term of

imprisonment is ten years or more. Therefore, the statutory presumption of detention is

triggered in this case.

       When the presumption of detention exists, the defendant may present evidence

to rebut that presumption. See United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir.

1991). However, if the defendant does so, the presumption does not drop out of



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consideration completely; rather, it "continues to be weighed along with other factors to

be considered when deciding whether to release a defendant." Id. In determining

whether the defendant has rebutted the statutory presumption, the Court must consider

the following factors:

       (1) The nature and circumstances of the offense charged, including
       whether the offense is a crime of violence or involves a narcotic drug;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including –

              (A) the person’s character, physical and mental condition, family
       ties, employment, financial resources, length of residence in the
       community, community ties, past conduct, history relating to drug or
       alcohol abuse, criminal history, and record concerning appearance at
       court proceedings; and

               (B) whether, at the time of the current offense or arrest, the person
       was on probation, on parole, or on other release pending trial, sentencing,
       appeal, or completion of sentence for an offense under Federal, State, or
       local law; and

       (4) the nature and seriousness of the danger to any person or the
       community that would be posed by the person’s release.


18 U.S.C. § 3142(g); United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001).

       The first factor requires that the Court consider the nature and circumstances of

the offense charged, including whether the offense involves a narcotic drug. See 18

U.S.C. § 3142(g)(1). The defendant is charged in a large-scale conspiracy involving a

substantial quantity of drugs. If convicted of the conspiracy offense, the defendant

faces a minimum of 10 years’ imprisonment and a maximum of life. Count 6 subjects

the defendant to a potential minimum sentence of imprisonment of 5 years, and a

maximum of 40 years. Under count 7, the defendant faces a maximum sentence of 20

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years’ imprisonment. The potential for a lengthy period of incarceration weighs against

release.

      As to the second factor, the evidence against the defendant is strong, particularly

with regard to count 7 (maintaining a residence for the purpose of manufacturing and

distributing cocaine and marijuana). The Court recognizes that the defendant is

presumed innocent of the charges against her. However, the government proffered

that a search warrant of the defendant’s Blum Avenue property yielded a substantial

amount of drugs and cash. Agents also uncovered a picture on the defendant’s

“facebook” page of her husband and child surrounded by a large amount of cash. The

defendant knew her husband was unemployed, thus supporting the government’s

contention that she knew about the drugs and money in the house. The government

also proffered that the defendant is heard on wiretaps warning her husband, Javier

Navarro, of police in the area and that she frequently obtained rental cars in her name

that were used by Javier Navarro in furtherance of drug transactions, thus suggesting

that the defendant played some role in facilitating the drug conspiracy. The strength of

the government’s evidence against the defendant weighs in favor of detention.

      The third factor requires the Court to consider the history and characteristics of

the defendant. The defendant has no criminal history. She lives in Buffalo, as does her

mother and her child. She has never traveled outside of the United States. After her

husband was arrested for drug trafficking, she moved in with her mother and did not

flee the area. She has no history of mental illness and, although she was an occasional

user of marijuana in the past, she has not done so in three years. The Court finds that

the history and characteristics of the defendant weigh in favor of release.

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      As to the final factor - the nature and seriousness of the danger to any person or

the community that would be posed by the defendant’s release - this factor weighs in

favor of detention. The defendant is charged with serious crimes including possessing

a large quantity of drugs and engaging in a conspiracy to distribute them. Weapons

were found in the bedroom of her mother’s house, where the defendant moved upon

eviction from Blum Avenue. Included among those weapons was a .357 Magnum

revolver. Additional firearms and ammunition were found in an attic. The attic area

was locked and the defendant had a key to the locked area. The defendant denies any

knowledge of the firearms. She claims that the .357 revolver was found in a blue

storage bin that belonged to her deceased brother. Assuming arguendo the truth of

that statement and that the gun was not hers, probation officers also found other

serious weapons in plain view – right in the bedroom where the defendant was sleeping

-- namely, brass knuckles and “a large tan stick which opens into two forged metal

blades.” Further, as to the weapons found in the Christmas tree box in the attic, the

government proffered that it believes that the defendant moved the weapons to her

mother’s residence herself upon eviction. According to the government, it had

information from a cooperating source that the defendant’s husband kept a 12 gauge

pistol grip shotgun at his Blum Street residence. Police did not find the weapon when

they initially searched the residence. However, the confidential source told the

government that agents “missed” (i.e. failed to find) the gun. Thereafter, the defendant

was evicted and the weapon turned up at her mother’s house. The defendant’s

husband could not have moved the weapon because he was incarcerated before the

eviction. This circumstantial evidence supports the conclusion that the defendant

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moved the weapon herself. The defendant’s possession of brass knuckles, the bladed

sticks, and the evidence suggesting that she was the one who moved the firearms, all

support the conclusion that she presents a danger to the community.

       In light of the foregoing, the Court finds that the defendant has failed to rebut the

statutory presumption of detention and that no condition or combination of conditions

exists that would assure the safety of the community if she were released.



                                        CONCLUSION

       For the reasons discussed above, the Magistrate Judge’s order of detention is

hereby affirmed and the defendant is ordered detained pending trial.

       The Court further orders that the defendant be committed to the custody of the

Attorney General for confinement in a corrections facility separate, to the extent

practical, from persons awaiting or serving sentences or being held in custody pending

appeal.

       The Court further orders that the defendant be afforded reasonable opportunity

for private consultation with counsel.2




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           The Court recognizes that pretrial detention does pose a certain degree of
inconvenience to the defendant and her counsel in preparing for her defense at trial. However,
as long as the detainee receives a reasonable opportunity to seek and receive the assistance of
counsel, the Sixth Amendment is not violated. See Procunier v. Martinez, 416 U.S. 396, 419
(1974), overruled in part on other grounds by Thornburgh v. Abbott, 490 U.S. 401 (1989); see
also Rothgery v. Gillespie County, 554 U.S. 191, 235 (Thomas, J., dissenting) (“[W]e have
never suggested that the accused's right to the assistance of counsel ‘for his defence’ entails a
right to use counsel as a sword to contest pretrial detention..”). “Although pretrial detention
may hamper a defendant's ability to retain the attorney of [her] choice and undoubtedly makes
communication with counsel and preparation for trial more cumbersome, without more, those
consequences do not result in an interference of constitutional significance.” See United States
v. Dettelis, 372 Fed. Appx. 105 (2d Cir. 2010).

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      Finally, the Court directs that on order of a Court of the United States or on

request of an attorney for the government, the person in charge of the corrections

facility in which defendant is confined deliver defendant to a United States Marshal for

the purpose of appearance in connection with any court proceeding.


      SO ORDERED.

                                         s/ Richard J. Arcara
                                         HONORABLE RICHARD J. ARCARA
                                         UNITED STATES DISTRICT JUDGE

DATED: December 23, 2010




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